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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 In re:
                                                           Case No. 16-21665-KHT
 STEPHEN SCOTT SOMMERSCHIELD                               Chapter 11
 LAURA KG SOMMERSCHIELD,

 Debtors.




                                    BALLOT REPORT BY DEBTOR


        Stephen Scott Sommerschield and Laura KG Sommerschield (“Debtor-in-Possession”),
 submit this Ballot Report in furtherance of the Chapter 11 Plan of Reorganization (Docket 175)
 (“Plan”) and the Disclosure Statement (Docket 176)(“Disclosure Statement”) as follows:

     1. Debtor in Possession filed for protection under Chapter 7 of the Bankruptcy Code on
        November 30, 2016. The case was converted to one under Chapter 11 of Title 11 on
        February 16, 2018.

     2. The summary of ballots received by counsel are as follows, unless otherwise indicated a
        ballot was not received:


               Class              Creditor             Impaired                 Accept               Reject
                 1            Secured Claim           Not Impaired                -                    -
                              of Citizens Tri-
                              County Bank
                  2           Secured Claim              Impaired                  -                    -
                              of Toyota Motor
                              Credit
                  3           Secured Claim           Not Impaired                 -                    -
                              of Disney
                              Vacation Club
                  4           Secured Claim           Not Impaired                 -                    -
                              of Ditech
                  5           Secured Claim           Not Impaired                 -                    -
                              of Flagstar Bank
                  6           Unsecured                  Impaired                 11                    0
                              Claims allowed
 1
  One ballot was received by Citizens Tri-County Bank regarding the unsecured portion of its claim who voted to
 accept the plan.
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                               under 11 U.S.C.
                               §502
                  7            Convenience                 Impaired                   12                    0
                               Claims

     3. To the extent that a class is impaired but has not voted it is deemed to have voted to
        accept the plan. In re Ruti-Sweetwater, Inc., 836 F.2d 1263 (10th Cir. 1988).
        Additionally, at least 2 creditors who are impaired voted to accept the Plan. 11 U.S.C.
        §1129(a)(7).


 Dated this December 5, 2018.

                                                       Respectfully submitted,


                                                       s/ Robertson B Cohen
                                                       Robertson B. Cohen, 35252
                                                       1720 S. Bellaire St.; Ste 205
                                                       Denver, CO 80222
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 2
  One ballot was received by Elk River Public Utility District which elected to be treated as a Class 7 Claim in the
 amout of $31.
